
SHEPHERD, J.,
specially concurring.
I concur in the result on the basis of R.M. v. Department of Children &amp; Families, 847 So.2d 1103 (Fla. 4th DCA 2003), upon which the trial court relied in the final judgment for termination of parental rights as to the father, O.M., and which controls the case before us. See id. at 1103 (holding that section 39.8063(1)(d)3 of the Florida Statutes “permits the court to terminate the rights of an incarcerated parent when the court determines by clear and convincing evidence that ‘continuing the parental relationship would be harmful to the child’ ” and holding that statute “does not require proof that actual contact is detrimental”).
ROTHENBERG, J., concurs.
